Case 2:24-cv-01254-AMM Document 80-12 Filed 10/14/24 Page 1 of 9            FILED
                                                                   2024 Oct-14 AM 11:59
                                                                   U.S. DISTRICT COURT
                                                                       N.D. OF ALABAMA




               EXHIBIT 41
           Emails Between Laney Rawls Office
            and ADOL Secretary Washington
Case 2:24-cv-01254-AMM Document 80-12 Filed 10/14/24 Page 2 of 9




                                                                   Ala00000579
Case 2:24-cv-01254-AMM Document 80-12 Filed 10/14/24 Page 3 of 9




                                                                   Ala00000580
Case 2:24-cv-01254-AMM Document 80-12 Filed 10/14/24 Page 4 of 9




                                                                   Ala00000581
Case 2:24-cv-01254-AMM Document 80-12 Filed 10/14/24 Page 5 of 9




                                                                   Ala00000582
Case 2:24-cv-01254-AMM Document 80-12 Filed 10/14/24 Page 6 of 9




                                                                   Ala00000583
Case 2:24-cv-01254-AMM Document 80-12 Filed 10/14/24 Page 7 of 9




                                                                   Ala00000584
Case 2:24-cv-01254-AMM Document 80-12 Filed 10/14/24 Page 8 of 9




                                                                   Ala00000585
Case 2:24-cv-01254-AMM Document 80-12 Filed 10/14/24 Page 9 of 9




                                                                   Ala00000586
